Case No. 1:23-cv-02291-PAB Document 1-4 filed 09/07/23 USDC Colorado pg 1 of 5




 DISTRICT COURT, CITY AND COUNTY OF
 DENVER, COLORADO
 1437 Bannock St.                                      DATE FILED: September 6, 2023 9:01 AM
 Denver, CO 80203                                      FILING ID: ACFEFE55A1C72
                                                       CASE NUMBER: 2023CV32577

 Petitioners:
 NORMA ANDERSON, MICHELLE PRIOLA,
 CLAUDINE CMARADA, KRISTA KAFER,
 KATHI WRIGHT, and CHRISTOPHER
 CASTILIAN,

 v.

 Respondents:
 JENA GRISWOLD, in her official capacity as
 Colorado Secretary of State, and
 DONALD J. TRUMP.                                       ▲ COURT USE ONLY ▲


 Attorneys for Petitioners:                             Case Number:

 Mario Nicolais, Atty. Reg. # 38589
 KBN Law, LLC
 7830 W. Alameda Ave., Suite 103-301                    Division/Courtroom:
 Lakewood, CO 80226
 Phone: 720-773-1526
 Email: mario@kbnlaw.com

 Martha M. Tierney, Atty. Reg. # 27521
 Tierney Lawrence Stiles LLC
 225 E. 16th Ave., Suite 350
 Denver, CO 80203
 Phone: 303-356-4870
 Email: mtierney@tls.legal

 Eric Olson, Atty. Reg. # 36414
 Sean Grimsley, Atty. Reg. # 36422
 Jason Murray, Atty. Reg. # 43652
 Olson Grimsley Kawanabe Hinchcliff & Murray LLC
 700 17th Street, Suite 1600
 Denver, CO 80202
 Phone: 303-535-9151
 Email: eolson@olsongrimsley.com
 Email: sgrimsley@olsongrimsley.com
 Email: jmurray@olsongrimsley.com



                                         Page 1 of 5
                                                                                       4
Case No. 1:23-cv-02291-PAB Document 1-4 filed 09/07/23 USDC Colorado pg 2 of 5




 Donald Sherman*
 Nikhel Sus*
 Jonathan Maier*
 Citizens for Responsibility and Ethics in Washington
 1331 F Street NW, Suite 900
 Washington, DC 20004
 Phone: 202-408-5565
 Email: dsherman@citizensforethics.org
 Email: nsus@citizensforethics.org
 Email: jmaier@citizensforethics.org

 *Pro hac vice admission pending


        MOTION FOR AN EXPEDITED CASE MANAGEMENT CONFERENCE



   By and through undersigned counsel, Petitioners move the Court to hold an expedited case
management conference. As grounds for this motion, Petitioners state:

                     Certification Pursuant to C.R.C.P. 121, Section 1-15(8)

    Undersigned counsel certify that they will serve copies of the Verified Petition Under C.R.S.
§ 1-4-1204, § 1-1-113, § 13-51-105, and C.R.C.P. 57(a), together with this Motion for an
Expedited Case Management Conference upon Respondent Colorado Secretary of State
Griswold (the “Secretary”) and Respondent Donald J. Trump. Given the expedited nature of the
relief requested, Petitioners were unable to confer with opposing counsel for all parties regarding
their position on this Motion. Petitioners will promptly notify the Court upon learning of
Respondents’ position on this Motion.

   1. Petitioners filed their Verified Petition Under C.R.S. § 1-4-1204, § 1-1-113, § 13-51-105,
      and C.R.C.P. 57(a) on Wednesday, September 6, 2023.

   2. Petitioners are “eligible electors” who are challenging the listing of Respondent Donald J.
      Trump on Colorado’s presidential primary election ballot or any future Colorado ballot.
      Pursuant to C.R.S. § 1-1-113, Petitioners allege that the Secretary is “about to commit a
      breach or neglect of duty, or other wrongful act” by taking a series of actions that would
      allow Respondent Trump access to the presidential primary ballot. Petitioners also seek
      declaratory relief against both Respondents under C.R.S. § 13-51-105, and C.R.C.P.
      57(a). Under C.R.S. § 1-4-1204(4), the Court must hold a hearing “[n]o later than five
      days after the challenge is filed.”

   3. Immediately after the filing of the Petition and this Motion, Petitioners will serve the
      Secretary at her office and will attempt to serve Mr. Trump at his usual places of abode
      and workplaces in Palm Beach, Florida and Bedminster, New Jersey, and at his usual
      workplace in New York, New York. Petitioners are also emailing a copy of the Petition,
      this Motion, and summons to Mr. Trump’s counsel of record in several pending cases and
                                           Page 2 of 5
Case No. 1:23-cv-02291-PAB Document 1-4 filed 09/07/23 USDC Colorado pg 3 of 5




         have made a copy of the Petition publicly available on a website, so that Mr. Trump or
         his agents can find it easily if they are alerted to the case by the media.

      4. Petitioners are prepared to put on evidence and witnesses within the five-day timeframe
         set forth in C.R.S. § 1-4-1204(4).

      5. At the same time, Petitioners understand that the complexity and importance of the
         matters raised in their Petition, as well as the need to permit meaningful participation by
         all Respondents in the proceedings, may necessitate additional time.

      6. Meanwhile, expedited proceedings are necessary because the Secretary faces looming
         deadlines to prepare ballots. All hearings, decisions, and appeals (including potentially to
         the Colorado Supreme Court and U.S. Supreme Court) must be completed prior to the
         certification deadlines below.

      7. Colorado’s 2024 presidential primary is scheduled for March 5, 2024. 1 The deadline for
         the Secretary of State to certify the contents of the 2024 presidential primary ballot is
         January 5, 2024. C.R.S. §1-4-1204(1).

      8. Under Colorado’s presidential primary elections statute, the Secretary is responsible for
         overseeing ballot access for presidential primary candidates, including by accepting a
         major political party’s form designating a candidate “as a bona fide candidate for
         president of the United States” who is “affiliated with a major political party,” C.R.S. §
         1-4-1204(1)(b); and accepting a “notarized candidate’s statement of intent together with
         either a nonrefundable filing fee of five hundred dollars, or a petition signed by at least
         five thousand eligible electors,” C.R.S. § 1-4-1204(1)(c).

      9. The last date that a 2024 presidential primary candidate can submit a statement of intent,
         along with either the $500 fee, or a signed petition, is December 11, 2023. C.R.S. §1-4-
         1204(1)(c). 2 These ballot access steps, however, may begin much earlier and can
         proceed over a several month period. For example, major political parties can submit to
         the Secretary a form designating a candidate as a “bona fide candidate for president of the
         United States” who is “affiliated with [the] major political party” at any point. C.R.S. § 1-
         4-1204(1)(b). Presidential primary candidates can begin circulating petitions on
         November 6, 2023, C.R.S. §1-4-801(6), but before they begin circulating a petition, they
         must submit the petition form to the Secretary of State for approval, which may happen
         weeks or months in advance. C.R.S. §1-4-903. Similarly, presidential primary
         candidates can submit their notarized candidate’s statement of intent and a $500 filing fee
         at any time after announcing their candidacy, so long as it is “not later than eighty-five
         days before the date of the presidential primary election.” C.R.S. §1-4-1204(1)(c).

      10. Respondent Trump is already a “candidate” under Colorado and federal law for the 2024
          Republican presidential primary election. See Colo. Const. art. XXVIII, § 2 (defining
          “candidate” as one who “has publicly announced an intention to seek election to public
          office … and thereafter has received a contribution or made an expenditure in support of
1
    See 2024ElectionCalendar.pdf (state.co.us).
2
    See also 2023ElectionCalendar.pdf (state.co.us).
                                             Page 3 of 5
Case No. 1:23-cv-02291-PAB Document 1-4 filed 09/07/23 USDC Colorado pg 4 of 5




       the candidacy”); C.R.S. § 1-4-905.5(1)(a) (same); 52 U.S.C. § 30101(2) (defining
       “candidate” as “an individual who seeks nomination for election … to Federal office”
       and has “received contributions aggregating in excess of $5,000 or has made
       expenditures aggregating in excess of $5,000”). Mr. Trump publicly announced his 2024
       presidential campaign on November 15, 2022. He has filed with the Federal Election
       Commission a Statement of Candidacy and a candidate Public Financial Disclosure
       Report. 3 To date, Mr. Trump’s campaign has raised at least $35,987,476 and spent at
       least $13,471,085. 4 In Colorado, Mr. Trump’s campaign has raised at least $476,302 in
       individual contributions. 5

    11. At any point over the next few weeks, the Colorado Republican Party could submit its
        form to the Secretary designating Mr. Trump as a bona fide presidential primary
        candidate for the party, and Trump could submit to the Secretary his notarized
        candidate’s statement of intent. The Secretary’s acceptance of either filing, and any other
        action by the Secretary allowing Mr. Trump ballot access, will be “improp[er],” C.R.S. §
        1-4-1204(4), and “a breach or neglect of duty or other wrongful act” that, absent relief by
        this Court, the Secretary is “about to commit,” C.R.S. § 1-1-113(1), in violation of the
        U.S. Constitution and Colorado law.

    12. Given that Mr. Trump is already a candidate, and that the Secretary may face an
        imminent decision to allow him to seek ballot access, a case management conference will
        benefit all parties.

    13. A case management conference will allow the Parties and the Court to discuss
        scheduling, along with potential discovery, witnesses, and deadlines for motions and
        briefing.

   WHEREFORE, Petitioners respectfully request that the Court order an expedited case
management conference to take place prior to an evidentiary hearing.

Date: September 6, 2023       Respectfully submitted,

                              ______________________________
                              Mario Nicolais, Atty. Reg. # 38589
                              KBN Law, LLC
                              7830 W. Alameda Ave., Suite 103-301
                              Lakewood, CO 80226
                              Phone: 720-773-1526
                              Email: Mario@kbnlaw.com


3
  OGE Form 278e, Executive Branch Personnel Public Financial Disclosure Report, Donald J.
Trump, Apr. 14, 2023, https://www.citizensforethics.org/wp-content/uploads/2023/04/Disclosure-
Report-Part-1-4-14-23.pdf.
4
  Federal Election Commission, Financial Summary: Donald J. Trump for President 2024, Inc.,
https://www.fec.gov/data/candidate/P80001571/?cycle=2024&election_full=true.
5
  Federal Election Commission, Presidential Candidate Map,
https://www.fec.gov/data/candidates/president/presidential-map/.
                                          Page 4 of 5
Case No. 1:23-cv-02291-PAB Document 1-4 filed 09/07/23 USDC Colorado pg 5 of 5




                        Martha M. Tierney, Atty. Reg. # 27521
                        Tierney Lawrence Stiles LLC
                        225 E. 16th Ave., Suite 350
                        Denver, CO 80203
                        Phone: 303-356-4870
                        Email: mtierney@tls.legal

                        Eric Olson, Atty. Reg. # 36414
                        Sean Grimsley, Atty. Reg. # 36422
                        Jason Murray, Atty. Reg. # 43652
                        Olson Grimsley Kawanabe Hinchcliff & Murray LLC
                        700 17th Street, Suite 1600
                        Denver, CO 80202
                        Phone: 303-535-9151
                        Email: eolson@olsongrimsley.com
                        Email: sgrimsley@olsongrimsley.com
                        Email: jmurray@olsongrimsley.com

                        Donald Sherman*
                        Nikhel Sus*
                        Jonathan Maier*
                        Citizens for Responsibility and Ethics in Washington
                        1331 F Street NW, Suite 900
                        Washington, DC 20004
                        Phone: 202-408-5565
                        Email: dsherman@citizensforethics.org
                        Email: nsus@citizensforethics.org
                        Email: jmaier@citizensforethics.org
                        *Pro hac vice admission pending

                        Counsel for Petitioners




                                    Page 5 of 5
